         Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 1 of 10




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                     §
In re:                                               §       Chapter 11
                                                     §
DRF LOGISTICS, LLC, et al.,                          §       Case No. 24-90447 (CML)
                                                     §
                                                     §
                 Debtors. 1                          §       (Joint Administration Requested)

                OMNIBUS MOTION OF DEBTORS FOR AN ORDER
        (I) AUTHORIZING REJECTION OF CERTAIN UNEXPIRED LEASES
    NUNC PRO TUNC TO PETITION DATE AND (II) GRANTING RELATED RELIEF

      IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
      WRITING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE
      YOUR RESPONSE ELECTRONICALLY AT HTTPS://ECF.TXSB.USCOURTS.GOV/
      WITHIN TWENTY-ONE DAYS FROM THE DATE THIS MOTION WAS FILED. IF
      YOU DO NOT HAVE ELECTRONIC FILING PRIVILEGES, YOU MUST FILE A
      WRITTEN OBJECTION THAT IS ACTUALLY RECEIVED BY THE CLERK WITHIN
      TWENTY-ONE DAYS FROM THE DATE THIS MOTION WAS FILED. OTHERWISE,
      THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT THE
      RELIEF REQUESTED.


      THIS MOTION SEEKS TO REJECT CERTAIN UNEXPIRED LEASES. LEASE
      COUNTERPARTIES RECEIVING THIS MOTION SHOULD LOCATE THEIR
      NAMES AND LEASES IN THE SCHEDULE OF LEASES ATTACHED HERETO
      AS SCHEDULE 1.



                 DRF Logistics, LLC and DRF, LLC, as debtors and debtors in possession in the

above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully represent as follows

in support of this motion (the “Motion”):




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: DRF Logistics, LLC (6861) and DRF, LLC (7236). The Debtors’ mailing address is 7171 Southwest
Parkway, Bldg. 300, Suite 400, Austin, TX 78735.
        Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 2 of 10




                                          Background

               1.      On August 8, 2024 (the “Petition Date”), the Debtors each commenced

with the Court a voluntary case under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”). The Debtors are authorized to continue to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed

in these chapter 11 cases.

               2.      Contemporaneously herewith, the Debtors have filed a motion requesting

joint administration of their chapter 11 cases pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Bankruptcy Local Rules

for the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local

Rules”).

               3.      On August 8, 2024, the Debtors, Pitney Bowes International Holdings, Inc.

(“PBIH”), Pitney Bowes, Inc. (“PBI” and, together with its affiliates (as defined in the Bankruptcy

Code), “Pitney Bowes”), and Oaktree Capital Management, L.P., and/or any of its affiliates or

funds (collectively, “Oaktree”), entered into that certain Restructuring Support Agreement (as

may be amended, supplemented, or otherwise modified from time to time and including all exhibits

thereto, the “RSA”). Under the RSA, PBI, PBIH, and Oaktree have agreed, subject to the terms

and conditions of the RSA, to vote in favor of and support confirmation of the Debtors’ Joint

Chapter 11 Plan of Liquidation (the “Plan”), filed contemporaneously herewith.

               4.      Additional information regarding the Debtors’ business and capital

structure and the circumstances leading to the commencement of these chapter 11 cases is set forth

in the Declaration of Eric Kaup in Support of the Debtors’ Chapter 11 Petitions and First Day

Relief, sworn to on the date hereof, and the Declaration of Robin Chiu in Support of First Day


                                                2
         Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 3 of 10




Motions and Applications, sworn to on the date hereof (together, the “First Day Declarations”),

which have been filed contemporaneously herewith and incorporated herein by reference. 2

                                                  Jurisdiction

                 5.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§ 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               Relief Requested

                 6.       By this Motion, pursuant to sections 105(a) and 365(a) of the Bankruptcy

Code and Bankruptcy Rule 6006, the Debtors request (i) authority to reject certain unexpired leases

(each, as amended or modified, a “Lease,” and collectively, the “Leases”) identified on Schedule

1 to the Proposed Order (as defined below), effective as of the Petition Date and (ii) related relief.

                 7.       A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                                              Unexpired Leases

                 8.       As set forth in detail in the First Day Declarations, the Debtors’ business

has struggled as a result of increased competition, declines in demand for ecommerce services

resulting from supply chain delays or interruptions affecting retail clients, and changes in retail

consumer spending patterns. Although the Debtors undertook numerous operational initiatives to

increase revenue and reduce costs, they were unable to eliminate ongoing losses. Accordingly, the

Debtors determined that commencing these chapter 11 cases to conduct a value-maximizing

liquidation process was the best path forward.




2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the First
Day Declarations.



                                                         3
        Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 4 of 10




               9.      Prior to the Petition Date, the Debtors and their advisors worked diligently

to review the Debtors’ executory contracts and unexpired leases to determine how to best achieve

their wind-down objectives, including reducing the administrative burden on the Debtors’ estates.

As a result of that review, the Debtors weighed the ongoing cost of utilizing the Leases against the

effect of rejecting such Leases and the resulting impact on the success of their chapter 11

objectives.

               10.     As set forth in the First Day Declarations, Debtors have determined that the

costs incurred under the Leases constitute an unnecessary drain on the Debtors’ limited resources.

To that end, the Debtors have decided to reject the Leases for robotics supply and related

equipment to avoid the incurrence of unnecessary expenses in recurring fees and maintenance costs

related to the Leases. As such, Leases, which were used in the operation of the Debtors’ business

are no longer needed in connection with the Debtors’ wind-down efforts.

               11.     The Debtors continue to review their outstanding executory contracts and

unexpired leases and may file additional motions requesting authority to reject executory contracts

and unexpired leases that are no longer needed by the Debtors’ estates. To that end, the Debtors

have concurrently filed the Motion of Debtors for an Order (I) Authorizing and Approving

Procedures to Reject Executory Contracts and Unexpired Leases and (II) Granting Related Relief,

which, if granted, will streamline the Debtors’ efforts in this regard by providing a set of

procedures designed to balance counterparties’ due process rights with the Debtors’ need for

efficient resolution of rejection matters as they wind down operations in these chapter 11 cases.

                             Relief Requested Should Be Granted

A.     Rejection of Leases Is a Sound Exercise of Debtors’ Business Judgment

               12.     Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to

the court’s approval, may assume or reject any executory contract or unexpired lease of the


                                                 4
        Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 5 of 10




debtor.” 11 U.S.C. § 365(a). The purpose behind section 365(a) of the Bankruptcy Code is to

“relieve the bankruptcy estate of burdensome agreements which have not been completely

performed.” Stewart Title Guar. Co. v. Old Republic Nat’l Title Ins. Co., 83 F.3d 735, 741 (5th

Cir. 1996) (citing In re Murexco Petrol., Inc., 15 F.3d 60, 62 (5th Cir. 1994)); see also In re Orion

Pictures Corp., 4 F.3d 1095, 1098-99 (2d Cir. 1993) (noting that rejection permits the debtor to

renounce title to and abandon burdensome property).

               13.     Courts generally authorize debtors to reject unexpired leases and executory

contracts where the debtors appropriately exercise their “business judgment.” See Richmond

Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309 (5th Cir. 1985) (“It is well established that

‘the question whether a lease should be rejected . . . is one of business judgment.’”) (quoting Grp.

of Institutional Invr’s. v. Chi., Milwaukee, St. Paul & Pac. R.R. Co., 318 U.S. 523, 550 (1943)); In

re Pisces Energy, LLC, 2009 WL 7227880, at *6 (Bankr. S.D. Tex. Dec. 21, 2009); see also In re

Pilgrim’s Pride Corp., 403 B.R. 413, 422 (Bankr. N.D. Tex. 2009) (“The general rule is that the

decision to reject a given contract should be left to the trustee’s (or debtor in possession’s) sound

business judgment.”). The “business judgment” test merely requires a showing that rejection of

an executory contract or unexpired lease will benefit the debtor’s estate. In re Idearc Inc., 423

B.R. 138, 162 (Bankr. N.D. Tex. 2009) (stating that the business judgment standard only “requires

a showing that the proposed course of action will be advantageous to the estate.”) (citation

omitted). Third parties are generally not permitted to second-guess a debtor’s business judgment

concerning the rejection of an executory contract or unexpired lease. See In re Pisces Energy,

2009 WL 7227880, at *6 (“In the absence of a showing of bad faith . . . the debtor’s business

judgment will not be altered.”); In re Trans World Airlines, Inc., 261 B.R. 103, 121 (Bankr. D.




                                                 5
        Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 6 of 10




Del. 2001) (“A debtor’s decision to reject an executory contract must be summarily affirmed unless

it is the product of bad faith, or whim or caprice.”) (internal quotations omitted).

               14.     After evaluation and analysis, the Debtors, with the assistance of their

independent legal and financial advisors, have determined that the Leases are no longer necessary

for, or beneficial to, their business and impose unnecessary expenses on the Debtors’ estates given

that the Debtors are winding down operations and no longer need the equipment subject to the

Leases. Additionally, as set forth in the First Day Declarations, the Debtors have determined that

there is little, if any, likelihood that they will be able to realize value from the Leases because the

Debtors do not believe value could be derived from assignment of the Leases. Accordingly,

rejection of the Leases will avoid the incurrence of any additional, unnecessary expenses and will

result in a net gain for the Debtors’ estates. In light of the foregoing, the Debtors respectfully

request that the Court approve the rejection of the Leases as a sound exercise of the Debtors’

business judgment.

B.     Rejection Nunc Pro Tunc to Petition Date Is Appropriate

               15.     Under sections 365(a) and 105(a) of the Bankruptcy Code, bankruptcy

courts may grant retroactive rejection of an executory contract or unexpired lease based on a

balancing of the equities of the case. See, e.g., In re Cafeteria Operators, L.P., 299 B.R. 384, 394

(Bankr. N.D. Tex. 2003) (granting retroactive relief for contract rejection where debtors were

“receiving no benefit” from the lease and the contract counterparties “had unequivocal notice of

Debtors’ intent to reject prior to the filing of the Motions.”); In re O’Neil Theatres, Inc., 257 B.R.

806, 808 (Bankr. E.D. La. 2000) (granting retroactive relief noting the circumstances favored

granting the relief); In re Amber’s Stores, Inc., 193 B.R. 819, 827 (Bankr. N.D. Tex. 1996) (finding

that “nothing precludes a bankruptcy court, based on the equities of the case, from approving”

retroactive rejection); In re Joseph C. Spiess Co., 145 B.R. 597, 606 (Bankr. N.D. Ill. 1992) (“[A]


                                                  6
        Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 7 of 10




trustee’s rejection of a lease should be retroactive to the date that trustee takes affirmative steps to

reject said lease . . . .”); see also In re Thinking Machs. Corp., 67 F.3d 1021, 1028 (1st Cir. 1995)

(noting that “bankruptcy courts may enter retroactive orders of approval, and should do so when

the balance of equities preponderates in favor of such remediation.”); Pac. Shores Dev., LLC v. At

Home Corp. (In re At Home Corp.), 392 F.3d 1064, 1065–71 (9th Cir. 2004) (affirming bankruptcy

court’s approval of retroactive rejection), cert. denied, 546 U.S. 814 (2005). Courts examine a

number of factors when considering whether to approve retroactive rejection, including the costs

that a delayed rejection date would otherwise impose on a debtor. See In re Jamesway Corp., 179

B.R. 33, 38–39 (S.D.N.Y. 1995).

               16.     Here, the balance of equities favors approving rejection retroactive to the

Petition Date. First, the Leases do not provide any benefit to the Debtors’ estates. Second, the

Debtors filed this Motion with their clear intention to reject the applicable Leases. The Debtors

have requested that the Court approve such rejections at the earliest possible opportunity (other

than on an emergency basis). Lastly, the Debtors will cause notice of the Motion to be served on

all counterparties to the Leases contemporaneously with the filing of the Motion, thus providing

all affected parties adequate notice and sufficient opportunity to respond. In light of the foregoing,

the balance of equities favors approving rejection retroactive to the Petition Date.

                                       Reservation of Rights

               17.     Nothing contained herein is intended to be or shall be deemed as (i) an

admission as to the validity of any claim against the Debtors, (ii) a waiver or limitation of the

Debtors’ or any party in interest’s rights to dispute the amount of, basis for, or validity of any

claim, (iii) a waiver or limitation of the Debtors’ or any other party in interest’s rights under the

Bankruptcy Code or any other applicable nonbankruptcy law, (iv) a waiver of the obligation of

any party in interest to file a proof of claim, (v) an agreement or obligation to pay any claims, or


                                                   7
        Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 8 of 10




(vi) a waiver of any claims or causes of action that may exist against any creditor or interest holder.

The Debtors expressly reserve all of their rights with respect to the foregoing matters. Likewise,

if the Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended to be and should not be construed as an admission to the validity of any claim or a waiver

of the Debtors’ or any other party in interest’s rights to dispute such claim subsequently.

                                               Notice

               18.     Notice of this Motion will be served on any party entitled to notice pursuant

to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local Rule

9013-1(d).

                                       No Previous Request

               19.     No previous request for the relief sought herein has been made by the

Debtors to this or any other court.




                                                  8
       Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 9 of 10




              WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: August 9, 2024
       Houston, Texas


                                              /s/ Gabriel A. Morgan
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                                            Proposed Attorneys for Debtors
                                            and Debtors in Possession




                                               9
       Case 24-90447 Document 12 Filed in TXSB on 08/09/24 Page 10 of 10




                                    Certificate of Service

I hereby certify that on August 9, 2024, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                     /s/ Gabriel A. Morgan
                                                    Gabriel A. Morgan
